Case 1:24-cv-07975-AT   Document 86-14   Filed 02/04/25   Page 1 of 3




                 EXHIBIT 14
Case 1:24-cv-07975-AT   Document 86-14   Filed 02/04/25   Page 2 of 3
                          Case 1:24-cv-07975-AT                     Document 86-14                   Filed 02/04/25             Page 3 of 3
                                                                                                                                Zoning and Land Use

                                                                                                                                Tax Lots

                                                                                                                                Zoning Districts

                                                                                                                                 Commercial Districts

                                                                                                                                 Manufacturing Districts

                                                                                                                                 Residence Districts

                                                                                                                                 Parks

                                                                                                                                 Battery Park City

                                                                                                                                Commercial Overlays

                                                                                                                                 C1-1 through C1-5

                                                                                                                                 C2-1 through C2-5



                                                                                                                                Basemaps

                                                                                                                                Subways

                                                                                                                                Building Footprints




  30 ft




60 EAST 88 STREET, 10128                                                                   Add Another Tax Lot for Comparison
Manhattan (Borough 1) | Block 1499 | Lot 7501
                                                                                     TAX LOT | BBL 1014997501




Zoning District:         R8B



INTERSECTING MAP LAYERS          :          Owner                    Show Owner
None found                                  Land Use                 Mixed Residential & Commercial Buildings
                                            Lot Area                 9,009 sq ft
ZONING DETAILS:                             Lot Frontage             87.65 ft
  Digital Tax Map                           Lot Depth                100.71 ft
  Zoning Map: 8c (PDF)                      Year Built               1986
  Historical Zoning Maps (PDF)              Building Class           Condominiums - Mixed Residential & Commercial
                                                                     Building (Mixed Residential & Commercial) ( RM )
                                            Number of Buildings      1
                                            Number of Floors         15
                                            Gross Floor Area         56,395 sq ft
                                            Total # of Units         23
                                            Residential Units        18
                                            Condominium Number       343
                                            Building Info                 BISWEB
                                            Property Records              View ACRIS
                                            Housing Info               View HPD's Building, Registration & Violation
                                                                     Records
                                            Community District            Manhattan Community District 8
                                            City Council District         Council District 4
                                            School District          02
                                            Police Precinct          19
                                            Fire Company             L013
                                            Sanitation Borough     1
                                              Powered by ZoLa | zola.planning.nyc.gov | NYC Department of City Planning
                                            Sanitation District    08
                                                                                                                                                           Privacy - Terms
                                            Sanitation Subsection    5A
